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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


JEFFREY W. WITZ, on behalf of
himself and others similarly situated,

              Plaintiff,                              No. 19-cv-06715

                     v.                               Judge John F. Kness

GREAT LAKES EDUCATIONAL
LOAN SERVICES, INC.,

              Defendant.


                           MEMORANDUM OPINION AND ORDER

       Plaintiff Jeffrey Witz borrowed money from the federal government to pay for

his education. Defendant Great Lakes Educational Loan Services, Inc., manages

repayment of federally insured loans for millions of student borrowers, including

Plaintiff. Plaintiff sued Defendant on behalf of a purported class of similarly situated

borrowers.1 Plaintiff has refiled his complaint for the third time (the operative version

is entitled the “Second Amended Complaint”), alleging violations of the Illinois

Consumer Fraud Act (“ICFA”), unjust enrichment, and common law fraud. (Dkt. 88.)

Defendant now moves to dismiss the Second Amended Complaint and argues that

Plaintiff lacks standing, fails to state a claim for relief, and has improperly recast a



   1 The Court has subject matter jurisdiction under the Class Action Fairness Act, 28 U.S.C.

§ 1332(d)(2), because this suit has been brought on behalf of proposed classes, each in excess
of one hundred members; the aggregate claims of the Class members exceed $5 million
exclusive of interest and costs; and one or more of the members of each Class is a citizen of a
different state than one or more Defendants.
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claim for negligent misrepresentation as a claim for unjust enrichment. (Dkt. 93.)

Defendant also moves to strike the class allegations for each of Plaintiff’s claims.

(Dkt. 92.) For the reasons stated below, Defendant’s motion is granted in part and

denied in part.

I.       BACKGROUND

         As the Court has previously summarized (Dkt. 87), Defendant Great Lakes

Educational Loan Services, Inc. (“Great Lakes”) is a Wisconsin corporation that

contracts with the United States Department of Education to service federal student

loans. (Dkt. 88 ¶ 6.) As part of its servicing responsibilities, Defendant collects loan

payments, administers repayment programs on behalf of the Department of

Education, and agrees to comply with the federal law and the Department’s

regulations. (Dkt. 88 ¶ 11.) Among various repayment options, Defendant offers an

income-driven repayment (“IDR”) plan, which allows borrowers to make monthly

payments to Defendant based on their income, occupation, and family size. (Id.) IDR

plans also allow borrowers to apply for loan forgiveness after a certain number of

qualifying payments. (Id.) IDR plans are, in relevant part, divided between income-

contingent plans, known as Pay As You Earn (“PAYE”) plans, and income-based

repayment (“IBR”) plans. See 34 C.F.R. § 685.209 (PAYE plans); 34 C.F.R. § 685.221

(IBR plans).2




     2 Both PAYE and IBR plans allow prepayment “at any time without penalty, as provided

under § 685.211(a)(2).” Id. §§ 685.209(a)(3)(ii) (PAYE), 685.221(c)(2) (IBR). Section
685.211(a)(2) specifies that “[i]f a borrower pays any amount in excess of the amount due, the
excess amount is a prepayment.” Id. § 685.211(a)(2).


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      In May 2018, Plaintiff Jeffrey Witz held five loans under an IBR plan serviced

by Defendant, numbered 721, 722, 723, 724, and 726. (Dkt. 88 ¶¶ 13–14.) Plaintiff’s

minimum required monthly payment under the IBR plan was $394.41. (Id. ¶ 17; Dkt.

88-1.) Plaintiff alleges that Defendant represented on its website that the “rules

require that outstanding interest . . . must be paid first, prior to a payment being

applied to the loan principal[,]” but “when it comes to excess payments [borrowers]

have more flexibility.” (Dkt. 88 ¶ 26.) Defendant’s webpage further provided:

      We automatically apply excess to:

             1. Accrued interest since your last payment.
             2. Principal of the loan with the highest interest rate.

      Note: If you're in school, grace, or deferment, after outstanding interest for all
      loans has been paid it will be applied to the unsubsidized loan with the highest
      interest rate.

      If you prefer the excess to be applied to a different loan or loans within the
      account, define your Excess Payment Preference. This can be done for just one
      excess payment or for all future excess payments. . . .

      (Id.) Before May 2018, Plaintiff made regular monthly payments that were

equal to or exceeded the current amount due under his IBR plan. (Id. ¶ 16.) In that

period, Defendant applied Plaintiff’s minimum monthly payments only to interest.

(Id. ¶ 18.) By May 2018, however, Plaintiff noticed that the $394.41 payment

represented “slightly more than the interest accruing on the loans each month.” (Id.

¶ 19.) To pay off the loans as quickly as possible and to minimize the amount of

interest paid, Plaintiff began to make monthly payments in excess of the required

minimum (“prepayments”). (Id. ¶ 20.) Starting in May 2018, Plaintiff made $1,000

monthly payments to Defendant, approximately $606.59 above the required



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minimum. (Id. ¶ 21.) Plaintiff submitted the $1,000 payments based on Defendant’s

representation on its website. (Id. ¶ 29.) Between May 2018 and June 2019,

Defendant applied approximately $400 to interest and $600 to principal out of each

of Plaintiff’s $1,000 payments. (Id. ¶ 22.) By regularly making such prepayments,

Plaintiff paid off Loan 721 by July 2019. (Id. ¶ 23.) But when Plaintiff made another

$1,000 monthly payment in July 2019, Defendant applied the full amount towards

interest on Loan 723, applying none to the principal. (Id. ¶ 25.)

      Plaintiff alleges that Defendant did not apply the excess payments in

accordance with the representations on its website. Plaintiff states that when he

inquired as to why none of his excess payments had been applied to the principal of

Loan 723, Defendant responded that Plaintiff needed to “pay off 100% of the interest

on Loan 723 before anything would be applied to principal or the note.” (Id. ¶ 31.)

Because the outstanding interest on Loan 723 that had accrued under Plaintiff’s IBR

plan exceeded $1,000, Defendant applied the entirety of the payment to the interest

amount. (Id.) Plaintiff alleges that the application of the entire payment to

outstanding interest on Loan 723 was inconsistent “with the representations on Great

Lakes’ website” because the website assured Plaintiff “that any excess payment

[would be] applied first to interest accumulation since the last payment and then to

principal.” (Id. ¶ 33.) Plaintiff also alleges that Defendant failed to apply

prepayments in accordance with federal law. (Id. ¶ 39.)

      Plaintiff alleges that Defendant’s representations on its website “deceive[s]

borrowers into believing that all payments made in excess of the required monthly




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payment will be applied to the principal” of an outstanding loan, which borrowers

believe will shorten the length of the repayment plan and “thereby reduce the overall

accrued interest[.]” (Id. ¶ 34.) Plaintiff further states that, because of Defendant’s

deception, the principal balance of borrowers’ loans “is higher than it should be or

would be had Great Lakes applied prepayments in accordance with its

representations,” and Plaintiff, along with similarly situated borrowers, have been

“charged interest on the higher principal.” (Id. ¶ 35.)

      Following an oral motion to amend the initial complaint in this case (Dkt. 26),

Plaintiff filed an amended complaint containing claims for breach of contract,

violations of the ICFA, negligent misrepresentation, and common law fraud. (Dkt.

27.) Defendant filed a motion to dismiss the amended complaint in its entirety, which

the Court granted. (Dkt. 87.) Plaintiff’s claims for breach of contract were dismissed

with prejudice, but the Court granted Plaintiff leave to replead his other claims. (Id.)

Plaintiff then filed the Second Amended Complaint on behalf of himself and others

similarly situated, alleging that: (1) Defendant engaged in deceptive and unfair

advertising practices on its website in violation of 815 ILCS 505/2, the ICFA;

(2) Defendant unjustly enriched itself by failing to apply prepayments in accordance

with its representations; and (3) Defendant committed fraud by knowingly providing

information on prepayments in a manner inconsistent with its actual allocation of the

payments. (Id. ¶¶ 38–76.)




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II.   LEGAL STANDARD

      A motion to dismiss under Rule 12(b)(1) challenges the Court’s subject matter

jurisdiction over a case. Motions to dismiss for lack of subject matter jurisdiction

under Rule 12(b)(1) “are meant to test the sufficiency of the complaint, not to decide

the merits of the case.” Ctr. for Dermatology & Skin Cancer, Ltd. v. Burwell, 770 F.3d

586, 588 (7th Cir. 2014). When considering a Rule 12(b)(1) motion, the Court accepts

as true all well-pleaded factual allegations and draws all reasonable inferences in

favor of the plaintiff. Id. But the plaintiff bears the burden of proving that the

jurisdictional requirements have been met. Id. Because “[s]tanding is an essential

component of Article III’s case-or-controversy requirement,” defendants may seek the

dismissal of nonjusticiable claims through a Rule 12(b)(1) motion for lack of subject

matter jurisdiction. Apex Digital, Inc. v. Sears, Roebuck & Co., 572 F.3d 440, 443 (7th

Cir. 2009) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992)).

      A motion to dismiss under Rule 12(b)(6) “challenges the sufficiency of the

complaint to state a claim upon which relief may be granted.” Hallinan v. Fraternal

Ord. of Police of Chi. Lodge No. 7, 570 F.3d 811, 820 (7th Cir. 2009). Each complaint

“must contain sufficient factual matter, accepted as true, to ‘state a claim to relief

that is plausible on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). These allegations “must be enough

to raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555. Put

another way, the complaint must present a “short, plain, and plausible factual

narrative that conveys a story that holds together.” Kaminski v. Elite Staffing, Inc.,




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23 F.4th 774, 777 (7th Cir. 2022). As the Seventh Circuit has emphasized, a plaintiff

need not “lay out every element or ingredient” of a claim to survive a Rule 12(b)(6)

motion. Thomas v. JBS Green Bay, Inc., 120 F.4th 1335, 1336 (7th Cir. 2024). Such

“details and proof” come later, and all a plaintiff must do is “state a grievance.” Id. at

1338. In evaluating a motion to dismiss, the Court must accept as true the complaint’s

factual allegations and draw reasonable inferences in the plaintiff’s favor. Iqbal, 556

U.S. at 678. But even though factual allegations are entitled to the assumption of

truth, mere legal conclusions are not. Id. at 678–79.

III.   DISCUSSION

       A.    Article III Standing

       To show that he has Article III standing, Plaintiff bears the burden of pleading

“(i) an injury in fact, which is an invasion of a legally protected interest that is

concrete and particularized and, thus, actual or imminent, not conjectural or

hypothetical; (ii) a causal relation between the injury and the challenged conduct . . . ;

and (iii) a likelihood that the injury will be redressed by a favorable decision.” Wis.

Right to Life, Inc. v. Schober, 366 F.3d 485, 489 (7th Cir. 2004) (quotations omitted).

Defendant argues that Plaintiff lacks standing because he does not plead an injury

in fact to a legally protected interest. (Dkt. 93 at 5.) In the alternative, Defendant

argues that Plaintiff lacks standing because a favorable decision from the Court could

not redress Plaintiff’s alleged injury. (Id.) Plaintiff alleges an injury in fact, however,

by alleging that he faced an outsized loan principal as a result of Defendant’s




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representations on its website. This financial injury, moreover, may be redressed

through a favorable decision from the Court awarding money damages.

                  i. Injury Under the ICFA Stemming from a Violation of Federal Law

       Plaintiff’s Second Amended Complaint states that “Great Lakes engaged in

deceptive and unfair practices, in violation of 815 ILCS 505/2[,]” by “failing to apply

prepayments in accordance with federal law[.]” (Dkt. 88 ¶ 39.) Defendant states that

Plaintiff’s claim under the ICFA should be dismissed to the extent it stems from an

injury tied to Defendant’s failure to apply prepayments in accordance with federal

law because Defendant complied with the applicable federal regulation. Although

Plaintiff argues that 34 C.F.R. §§ 682.209 and 682.215 indicate that Defendant was

obligated to apply prepayments to the loan principal, Defendant correctly highlights

that § 682 applies to Federal Family Education Loans, whereas Plaintiff’s loans are

Direct Loans, meaning Plaintiff borrowed money directly from the Department of

Education. See Biden v. Nebraska, 600 U.S. 477, 484 (2023) (“Direct Loans are, as the

name     suggests,     made     directly    to    students. . . . The   Government       also

administers . . . FFELs—loans made by private lenders and guaranteed by the

Federal Government.”); (Dkt. 88-1 at 92 (showing that Plaintiff maintained “loan

account(s)” with the Department of Education rather than a private lender).)3 Direct

Loans are regulated by 34 C.F.R. § 685, which provides that prepayments under an



   3  It is well settled that, when ruling on a motion to dismiss, “a court may consider
‘documents . . . attached to the complaint, documents . . . central to the complaint and . . .
referred to in it, and information that is properly subject to judicial notice.’ ” Amin Ijbara
Equity Corp. v. Vill. of Oak Lawn, 860 F.3d 489, 493 n.2 (7th Cir. 2017) (quoting Williamson
v. Curran, 714 F.3d 432, 436 (7th Cir. 2013)).


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IBR plan must be applied to “[a]ccrued interest” on a loan before “[l]oan principal[.]”

§§ 685.209, 685.211.

         Because the Second Amended Complaint alleges that Defendant applied

Plaintiff’s prepayment to accrued interest on Loan 723 before the loan principal (Dkt.

88 ¶¶ 25, 31), Plaintiff does not allege a violation of § 685. Indeed, Plaintiff’s briefing

disputes the applicability of § 685 rather than arguing that Defendant failed to

comply with it. (See Dkt. 94 at 6–7.) As a result, the Court declines to find that

Plaintiff has standing to bring a claim under the ICFA on the grounds that Defendant

failed to apply prepayments in accordance with federal law. But because the Second

Amended Complaint provides an alternate injury under the ICFA stemming from

Defendant’s inducing of “prepayments through representations on its website which

do not in fact describe what it does the money that is prepaid[,]” the Court also

declines to dismiss the ICFA claim on the grounds of regulatory compliance. (Dkt. 88

¶ 39.)

                 ii. Injury Stemming from Paying Interest on an Improperly
                     Increased Principal

         With regard to each of Plaintiff’s three claims, Defendant argues that the

application of Plaintiff’s prepayments to interest rather than the principal of Loan

723 fails to constitute an injury in fact. Defendant states that, because federal

regulations require the application of payments to all accrued interest before any

payment is directed to the principal of a loan, Plaintiff has no legal interest in

ensuring its prepayment were applied to loan principal, given that accrued interest

remained unpaid. But Plaintiff alleges that he and similarly situated individuals



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were damaged because they “paid money to Great Lakes in the belief that it would be

applied to prepay the principal of their loans” and because they were charged interest

on a deceptively heightened loan principal. (Dkt. 88 ¶ 35.) Plaintiff’s alleged injury is

thus rooted in financial loss rather than a statutory or regulatory infraction, and a

“financial injury creates standing.” Aqua Dots Prods. Liab. Litig., 654 F.3d 748, 751

(7th Cir. 2011). In other words, the legal interest underlying Plaintiff’s claims stems

from Plaintiff’s payment of money to Defendant                caused by Defendant’s

representations of what it would do with the money, not Defendant’s mere application

of the payment to accrued interest rather than principal.

      Defendant further argues that Plaintiff fails to demonstrate standing because

he has not pleaded any allegations concerning an increase in principal or any

wrongful increase in interest payments paid on the heightened principal. (Dkt. 93 at

7–8.) On the contrary, Plaintiff has alleged that the “principal balance” of Loan 723

“is higher than it should be or would be” after Defendant applied the $1,000

prepayment to accrued interest rather than principal despite Defendant’s

representations on its website. (Dkt. 88 ¶ 35.) As courts within the Seventh Circuit

have held, a wrongfully heightened principal resulting in an increased level of

interest constitutes a “sufficiently concrete and particularized actual injury to

establish constitutional standing,” as the financial injury flowing from excess interest

on a heightened loan principal “is not speculation, but arithmetic.” See Dawson v.

Great Lakes Edu. Loan Servs., Inc., 327 F.R.D. 637, 646 (W.D. Wis. 2018).




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      Defendant cites Lyons v. Great Lakes Edu. Loan Servs., Inc., 2022 WL 602972,

at *9 (D. N.J. Mar. 1, 2022) in insisting that “no injury would materialize” until

Plaintiff has paid “a single dollar towards ‘wrongfully’ accrued student loan interest,”

but Lyons’ reasoning is not as persuasive here as Defendant suggests. In Lyons, the

plaintiffs had not submitted any payments at all to Great Lakes, leading the court to

find that the injury was too speculative to provide standing. Id. In contrast to the

Lyons claimants, Plaintiff has alleged that he made a $1,000 payment based on

fraudulent representations, which did not decrease his loan principal as Defendant

allegedly led Plaintiff to believe it would. Plaintiff has thus alleged a financial injury

sufficient to establish Article III standing.

      Defendant further argues that Plaintiff has no standing because a favorable

ruling on the merits of his claims could not adequately address Plaintiff’s alleged

injury. But Defendant fails to explain why an award of damages—the relief that

Plaintiff seeks in the Second Amended Complaint—would not suffice. Whether an

injury is “redressable” depends on “the relationship between ‘the judicial relief

requested’ and the ‘injury’ suffered.” California v. Texas, 593 U.S. 659, 660 (2021)

(quoting Allen v. Wright, 468 U.S. 737, 753 (1984)). Because Plaintiff seeks judicial

relief in the form of money damages to redress a financial injury, the Court sees no

reason to doubt the redressability of Plaintiff’s claims.




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       B.     Failure to State a Claim Under Rule 12(b)(6)

                  i. Failure to Allege Damages

       In addition to arguing that Plaintiff lacks standing to bring his claims,

Defendant argues that the Second Amended Complaint fails to allege that Plaintiff

or “similarly situated individuals suffered any damages.” (Dkt. 93 at 8–9.) As

discussed above, the Second Amended Complaint alleges that Plaintiff and other

similarly situated borrowers (1) “paid money to Great Lakes in the belief that it would

be applied to prepay the principal of their loans, when Great Lakes neither applied

nor intended to apply it” to a principal, (2) the “principal balance of their loans is

higher than it should be or would be” as a result, and (3) “they have been charged

interest on the higher principal.” (Dkt. 88 ¶ 35.) Despite Defendant’s insistence that

these allegations do not constitute “actual damages” (Dkt. 93 at 8–9), Plaintiff need

not “lay out every element or ingredient” of a claim to survive a Rule 12(b)(6) motion.

Thomas v. JBS Green Bay, Inc., 120 F.4th 1335, 1336 (7th Cir. 2024). All Plaintiff

must do is “state a grievance,” and the Second Amended Complaint, which explains

the way Plaintiff believes he was injured, contains sufficient facts to meet that

standard. Id. at 1338 (“[D]etails and proof” come later, and all a plaintiff must do to

survive a motion to dismiss is “state a grievance.”). 4

                 ii. Plaintiff’s Amended Claim for Unjust Enrichment

       Defendant argues that the Court should dismiss Plaintiff’s claim for unjust

enrichment (Count IV) because Plaintiff exceeded the scope of the Court’s leave to


   4 Defendant notes in its reply brief that Plaintiff did not respond to certain arguments

regarding Article III standing and damages in its briefing and submits that the Court should


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replead a claim for negligent misrepresentation. (Dkt. 93 at 9.) Rule 15(a) of the

Federal Rules of Civil Procedure, however, provides that courts “should freely give

leave when justice so requires.” Fed. R. Civ. P. 15(a)(2). Although district courts “have

broad discretion” to deny leave “where there is undue delay, bad faith, dilatory

motive, repeated failure to cure deficiencies, undue prejudice to the defendants, or

where the amendment would be futile,” Gonzalez-Koeneke v. West, 791 F.3d 801, 807

(7th Cir. 2015) (internal quotations omitted), Defendant makes no showing of undue

prejudice or any other condition that would suggest that the Court should inhibit

Plaintiff’s ability to amend his complaint. The Court therefore declines to dismiss

Plaintiff’s claim for unjust enrichment on the grounds that the amended claim

exceeds the scope of the Court’s leave.

       Defendant also argues that Plaintiff has failed to properly plead a claim for

unjust enrichment because the Second Amended Complaint contains no allegations

showing that Plaintiff maintained an interest in the payments Defendant received

for servicing his loans. (Dkt. 93 at 11.) The Court agrees. To state a claim for unjust

enrichment, “ ‘a plaintiff must allege that the defendant has unjustly retained a

benefit to the plaintiff’s detriment, and that defendant’s retention of the benefit

violates the fundamental principles of justice, equity, and good conscience.’ ” Cleary

v. Phillip Morris Inc., 656 F.3d 511, 518 (7th Cir. 2011) (quoting HPI Health Care



accordingly dismiss Plaintiff’s claims on those grounds. (Dkt. 98 at 3–4.) But a district court
“may not grant a motion to dismiss solely because there is no response from the non-movant.”
See Brockett v. Effingham County, Illinois, 116 F.4th 680, 685 n.1 (7th Cir. 2024) (ruling on
a motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure). It is the
“movant’s burden” to demonstrate an entitlement to relief on the motion to dismiss, and the
Court has “an independent duty to evaluate whether the movant has met that burden.” Id.


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Servs., 131 Ill. 2d 145, 160 (Ill. 1989)). Unjust enrichment is “not a mode of imposing

punitive damages; it is a means of recovering something that the defendant is not

entitled to but is unfairly possessing to the plaintiff’s detriment.” Id. at 520. A

plaintiff alleging unjust enrichment may seek to recover “a benefit which he gave

directly to defendant, or one which was transferred to defendant by a third

party.” Asch v. Teller, Levit & Silvertrust, P.C., 2003 WL 22232801, at *7 (N.D. Ill.

Sep. 26, 2003) (citing HPI Health Care Servs., 131 Ill. 2d at 161).

      Plaintiff alleges that Defendant unfairly possesses compensation from the

federal government “based on the principal balances of the loans it services” and thus

alleges that a benefit was unfairly bestowed on a defendant by a third party. (Dkt. 88

¶ 52.) To establish that the retention of a benefit conferred upon defendant by a third-

party constitutes unjust enrichment, “a plaintiff must show that (1) the benefit should

have been given to plaintiff, but the third party mistakenly gave it to defendant

instead; (2) defendant procured the benefit from the third party through some type of

wrongful conduct; or (3) plaintiff for some other reason had a better claim to the

benefit than defendant.” Asch, 2023 WL at *7 (citing HPI Health Care Servs., 131 Ill.

2d at 161–62). A claim for unjust enrichment cannot survive, however, “where a

plaintiff claims damages that rightfully belong to a third party.” Id.; see also

Independent Trust Corp. v. Fidelity Nat. Ins. Co. of New York, 577 F. Supp. 2d 1023,

1050 (N.D. Ill. 2008) (“[T]he plaintiff must [ ] have some interest in the property that

a third party gave to the defendant.”)




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      Plaintiff alleges that Defendant procured prepayments through “some type of

wrongful conduct” in stating that Defendant failed “to apply prepayments in

accordance with its representations[.]” (Dkt. 88 ¶ 52.) But Plaintiff alleges that

Defendant received excess compensation from the federal government, a third party,

and Plaintiff makes no showing as to why he would maintain an interest in that

money and why it would not rightfully belong to the government instead. See Asch,

2023 WL at *7 (granting summary judgment for the defendant on an unjust

enrichment claim where the plaintiff sought to recover fees paid to the debt collector

defendant by a third party, the debt collector’s client). Even assuming, therefore, that

Defendant received excess compensation from the federal government, Plaintiff’s

unjust enrichment claim (Count IV) must be dismissed.

      C.     Defendant’s Motion to Strike Plaintiff’s Class Allegations

      In addition to moving to dismiss each of Plaintiff’s claims, Defendant also

moves to strike each of Plaintiff’s proposed class allegations. (Dkt. 92.) On a motion

to strike class allegations where a plaintiff “has not yet had the benefit of class

discovery,” the burden “lies with the defendant . . . to definitively establish that a

class action cannot be maintained consistent with the class allegations.” Dowding v.

Nationwide Mut. Ins. Co., 490 F. Supp. 3d 1291, 1298 (N.D. Ill. 2020). In general,

motions to strike class allegations are disfavored. Harris v. Rust-Oleum Corp., 2022

WL 952743, at *3 (N.D. Ill. Mar. 30, 2022). A court may deny class certification “even

before the plaintiff files a motion requesting certification.” Kasalo v. Harris & Harris,

Ltd., 656 F.3d 557, 563 (7th Cir. 2011) (collecting cases). When the dispute is “factual”




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and “discovery is needed to determine whether a class should be certified,” however,

it may be “premature to strike class allegations.” Gibson v. Albertsons Companies,

Inc., 754 F. Supp. 3d 793, 801 (N.D. Ill. 2024). Moreover, even when a proposed class

is “overbroad,” such a defect “does not necessarily warrant striking” the allegations if

“they would sufficiently support a narrower proposed class[.]” Buonomo v. Optimum

Outcomes, Inc., 301 F.R.D. 292, 297 (N.D. Ill. 2014). It is therefore “the rare case in

which it is clear from the pleadings that the plaintiffs may not proceed as a class.”

Moore v. Nicole Hupp & Associates, LLC, 2023 WL 7166555, at *4 (N.D. Ill. Oct. 31,

2023) (internal quotations omitted).

      Defendant first argues that Plaintiff’s proposed classes are unascertainable,

facially overbroad, and predominated by individualized factual issues. (Dkt. 93 at 12.)

To show that the proposed classes are unascertainable, Defendant again argues that

Plaintiff’s allegations fail to show that the proposed class members suffered any

injury. As discussed above, the Court disagrees that no injury has been alleged. To

argue that the proposed classes are overbroad, Defendant notes that Plaintiff’s

proposed classes are not limited to borrowers who were allegedly deceived by

Defendant’s website. Plaintiff’s proposed classes, however, may be narrowed later.

Indeed, Oshana v. Coca-Cola Bottling Co., a case cited by Defendant where an

arguably analogous class was found to be impermissibly overbroad, addressed a

motion for class certification, not a pre-discovery motion to strike. 472 F.3d 506, 513–

15 (7th Cir. 2006).




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         Defendant also argues that class allegations should be stricken because too

many “individual fact issues” predominate the proposed class. (Dkt. 93 at 13.) But

whether factual issues prevent class certification should be assessed after discovery.

See Gibson, 754 F. Supp. 3d at 801. Thorogood v. Sears Roebuck and Co., which

Defendant cites to exemplify a class impermissibly predominated by individual

factual questions, addressed a post-discovery motion for class certification, allowing

the court to assess the facts disclosed during discovery. 547 F.3d 742, 744 (7th Cir.

2008). Because Defendant does not definitively show at this stage that a class action

cannot be maintained consistent with the class allegations, Defendant’s motion to

strike is denied.5

   IV.      CONCLUSION

         Defendant’s motion to dismiss (Dkt. 92) is granted in part and denied in part.

SO ORDERED in No. 19-cv-06715.

Date: June 24, 2025
                                                   JOHN F. KNESS
                                                   United States District Judge




   5 Because Plaintiff’s claim for unjust enrichment has been dismissed, Defendant’s motion

to strike the related class allegations is denied as moot.


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